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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE{;
EASTERN DlVlSlON

UN|TED STATES OF AMER|CA,

 

Plaintiff,
Cr. No. 04-10097-T

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)

)

vs. )
)
DEMETRIUS VAN CROCKER, )
)

)

Defendant.

 

AMENDED ORDER FOR PSYCHOLOG|CAL EXAM|NAT|ON AND REPORT

 

This cause came on to be heard on April 7, 2005. As part of hearing, defendantl
through his counsel, moved for an evaluation of the defendant to determine his mental
competency. The United States has moved to include in the evaluation other issues raised
in the defendant’s notice of intent to present expert testimony.

For good cause shown, it is hereby ordered pursuant to 18 U.S.C. § 4247 and Rule
12.2(c)(1)(B)Fed. R. Crim. P. that a psychiatric or psychological examination of defendant,
Demetrius Crocker, be conducted at an appropriate federal medical facility to determine
his competency to stand trial. and, further, whetherthe defendant suffered from a mental
disease or defect and/or mental condition that made him susceptible to inducement to
commit the crimes charged in the indictment. The examination will be conducted pursuant
to 18 U.S.C. § 4247(b) and Rule 12.2(c)(1)(B) Fed. R. Crim. P. and a psychiatric or
psychological report will be prepared pursuant to 18 U.S.C. § 4247(c) and shall include the
issue of whether the defendant suffered from a mental disease or defect and/or mental

condition that made him susceptible to inducement to commit the crimes charged in the

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indictment, pursuant to Rule 12.2 (c)(1)(B) Fed. R. Crim. P..

The trial in the above-styled case will not be set until the court receives the
psychiatric report. The ends of justice served by taking such action outweigh the best
interest of the public and the defendant in a speedy trial.

The Court finds that the grounds forthis delayjustify excluding the period of 4/1 8/05
until the defendant’s next hearing date under Title 18 U.S.C. § 3161(h)(1)(A).

lT lS SO ORDERED.

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JA S D. TODD
UN ED STATES DiSTR|CT JUDGE

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Honorable J ames Todd
US DISTRICT COURT

